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                                                                  9                                 UNITED STATES DISTRICT COURT
                                                                 10                                CENTRAL DISTRICT OF CALIFORNIA
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                                                                 11                                         WESTERN DIVISION
                                                                 12
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                                                                 13    MICHAEL TERPIN,                              Case No. 2:18-cv-06975-ODW-KS
                                                                 14                           Plaintiff,            PLAINTIFF’S OPPOSITION TO
                                                                                                                    MOTION TO DISMISS THE
                                                                 15    v.                                           SECOND AMENDED COMPLAINT
                                                                                                                    OF DEFENDANT AT&T
                                                                 16    AT&T MOBILITY, LLC; and DOES                 MOBILITY, LLC.
                                                                       1-25,
                                                                 17                                                 [Fed. R. Civ. Proc. 12(b)(6)]
                                                                                              Defendants.
                                                                 18                                                 Assigned To:
                                                                                                                    Honorable Otis D. Wright II
                                                                 19
                                                                 20                                                 Hearing: May 4, 2020
                                                                                                                    Time:      1:30 p.m.
                                                                 21                                                 Dept./Place: 350  West 1st Street
                                                                                                                                  5 Floor, Courtroom 5D
                                                                                                                                   th

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                                                                      83764-00002/3761537.4                                   OPPOSITION TO MOTION TO DISMISS
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                                                                  1    I.        INTRODUCTION
                                                                  2              The motion to dismiss (“Motion”) Plaintiff’s Second Amended Complaint
                                                                  3    (“SAC”) of Defendant AT&T Mobility, LLC (“Defendant” or “AT&T”)
                                                                  4    inappropriately distorts the allegations made by Plaintiff Michael Terpin
                                                                  5    (“Plaintiff” or “Mr. Terpin”) in an improper attempt to dismiss Mr. Terpin’s fraud
                                                                  6    and punitive damages claims. The Motion should be denied.
                                                                  7              First, Mr. Terpin has properly plead his third and fourth claims for relief for
                                                                  8    deceit by concealment and misrepresentation. AT&T virtually ignores the fact that
                                                                  9    Mr. Terpin has alleged that its representatives made specific false representations to
                                                                 10    Mr. Terpin after the first SIM swap on June 11, 2017 that were intended to induce
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                                                                 11    him to continue being an AT&T customer, upon which he relied (to his very
                                                                 12    considerable detriment) and that are more than adequate to support his claims for
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                                                                 13    deceit by concealment and misrepresentation. Moreover, one of AT&T’s primary
                                                                 14    arguments—that Mr. Terpin has not alleged more facts to support his fraud
                                                                 15    claims—is belied by the fact that AT&T alone is in possession of such facts and has
                                                                 16    delayed discovery that will reveal additional facts by bringing three successive
                                                                 17    motions to dismiss since this action was filed in August 2018.
                                                                 18              Second, Mr. Terpin has properly plead punitive damages. AT&T’s attempt
                                                                 19    to strike the punitive damages claim similarly rests on a seemingly willful distortion
                                                                 20    of Plaintiff’s allegations regarding AT&T’s involvement in the SIM swaps alleged
                                                                 21    in the SAC. Mr. Terpin’s primary argument is that AT&T through its corporate
                                                                 22    officers and managing directors created an inadequate “security” system that
                                                                 23    allowed its employees and contractors to bypass controls to implement SIM swaps
                                                                 24    (either on their own or in conjunction with hackers from whom they accepted small
                                                                 25    bribes). In other words, Mr. Terpin is not “focus[ing]” (as AT&T alleges) on
                                                                 26    Jahmil Smith, but rather on the fact that AT&T knowingly and with deliberate
                                                                 27    disregard to the privacy of its customers put in place and maintained a highly
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                                                                  1    inadequate security system that it knew could not prevent its own employees from
                                                                  2    facilitating SIM swaps. See AT&T Motion to Dismiss FAC (“Motion”) at 8 n.3.
                                                                  3              Further, especially in light of AT&T’s repeated assertions that Mr. Smith was
                                                                  4    not an AT&T employee 1, AT&T’s extensive reliance on cases under California
                                                                  5    Civil Code Section 3294(b), which pertain to the ratification of acts of low-level
                                                                  6    employees, is inapposite. Mr. Terpin has adequately alleged a basis for a claim for
                                                                  7    punitive damages in the context of AT&T’s knowledge and obligations to protect
                                                                  8    customer information, including its obligations to monitor and supervise its
                                                                  9    employees under a prior consent decree from the Federal Communications
                                                                 10    Commission (“FCC”) that dealt with precisely that issue. Mr. Terpin has further
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                                                                 11    alleged that AT&T and its officers and managing agents, including AT&T’s Chief
                                                                 12    Compliance Officer and head of security, knew of the inadequacy of AT&T’s
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                                                                 13    security measures and deliberately disregarded and violated the rights of its
                                                                 14    customers, including Mr. Terpin, all while continuing to falsely assure customers
                                                                 15    that they could obtain a higher level of security by upgrading to a six-digit code.
                                                                 16    As properly alleged in the SAC, AT&T is subject to punitive damages for Mr.
                                                                 17    Terpin’s fraud and tort claims and AT&T’s motion to strike such damages should
                                                                 18    be denied.
                                                                 19    II.       ARGUMENT
                                                                 20              A.       Mr. Terpin Has Appropriately Alleged Deceit by Concealment.
                                                                 21                       1.   Mr. Terpin alleges that AT&T deceived him after the June 11,
                                                                 22                            2017 hack.
                                                                 23              In his third claim for relief, Mr. Terpin alleges that AT&T knew its data
                                                                 24    security system was grossly inadequate and that its employees could readily bypass
                                                                 25
                                                                 26    1
                                                                         AT&T has repeatedly made this assertion in its motions to dismiss, despite the
                                                                       irrelevance of such factual assertions for such motion (defendant is bound to accept
                                                                 27    the plaintiff’s allegations as true). See, e.g., Lee v. City of Los Angeles, 250 F.3d
                                                                       668, 688 (9th Cir. 2001) (defendant’s factual assertions are irrelevant to a motion to
                                                                 28    dismiss).
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                                                                  1    whatever protections it purported to give. SAC ¶¶ 143-145. This claim is further
                                                                  2    substantiated elsewhere in the SAC. For example, in Paragraph 78, Mr. Terpin
                                                                  3    alleges that an AT&T employee confirmed in an August 3, 2018 article in
                                                                  4    Motherboard, that “the [AT&T] system is designed so that some employees have
                                                                  5    the ability to override security features such as the phone passcode that AT&T (and
                                                                  6    other companies) now require when porting numbers. ‘From there the passcode
                                                                  7    can be changed,’ the employee said in an online chat, referring to a customer
                                                                  8    information portal that they showed Motherboard. ‘With a fresh passcode the
                                                                  9    number can be ported out with no hang ups.’” (Emphasis added.)
                                                                 10              After Mr. Terpin’s initial SIM swap, he went on June 11, 2017 to an AT&T
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                                                                 11    store in Puerto Rico to ask what additional security could be implemented on his
                                                                 12    account to prevent future hacks. SAC ¶ 88. As alleged in the SAC, “Mr. Terpin
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                                                                 13    explained to AT&T that he had been hacked and that the hackers had stolen a
                                                                 14    substantial amount of money from him. Mr. Terpin expressed concern about
                                                                 15    AT&T’s ineffective security protections and asked how he could protect the
                                                                 16    security of his phone number and account against future unauthorized access,
                                                                 17    including hackers attempting to perpetrate SIM swap fraud.” Id.
                                                                 18              As further alleged in the SAC:
                                                                 19                           [i]n response to Mr. Terpin’s request for greater security for his
                                                                 20                           account and in order to induce Mr. Terpin to continue as an
                                                                 21                           AT&T customer, AT&T promised that it would place his
                                                                 22                           account on a “higher security level” with “special protection.”
                                                                 23                           AT&T told Mr. Terpin that this “higher security level” would
                                                                 24                           require anyone accessing or changing Mr. Terpin’s account to
                                                                 25                           provide a six-digit passcode to AT&T to access or change the
                                                                 26                           account. Anyone requesting AT&T to transfer Mr. Terpin’s
                                                                 27                           telephone number to another phone must provide the code.
                                                                 28                           AT&T promised Mr. Terpin at this meeting that the higher
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                                                                  1                           security that it was placing on his account, which it also called
                                                                  2                           “high risk” or “celebrity” protection, would ensure that Mr.
                                                                  3                           Terpin’s account was much less likely to be subject to SIM
                                                                  4                           swap fraud. AT&T further told Mr. Terpin that the
                                                                  5                           implementation of the increased security measures would
                                                                  6                           prevent Mr. Terpin’s number from being moved to another
                                                                  7                           phone without Mr. Terpin’s explicit permission, because no
                                                                  8                           one other than Mr. Terpin and his wife would know the secret
                                                                  9                           code. AT&T made all of these promises to convince Mr.
                                                                 10                           Terpin to continue to be an AT&T customer.
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                                                                 11    Id. See also SAC ¶¶ 143, 148, 150.
                                                                 12              In inducing Mr. Terpin to stay with AT&T by promising that the “high risk”
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                                                                 13    protection allegedly afforded by the additional six-digit Code would increase the
                                                                 14    security of his account, AT&T did not disclose that the additional security was
                                                                 15    worthless or ineffective because it could easily be bypassed or ignored by AT&T
                                                                 16    employees. ¶ 144. Specifically, AT&T “knew that its data security measures were
                                                                 17    grossly inadequate, that its employees and agents could readily bypass the
                                                                 18    procedures, that its employees actively cooperated with hackers and thieves, and
                                                                 19    that it was incapable of living up to its commitments to consumers, including to Mr.
                                                                 20    Terpin, under state and federal law, as well as under its own Privacy Policy, to
                                                                 21    protect his Personal Information, including CPI and CPNI.” SAC ¶ 143. AT&T
                                                                 22    made these false promises to induce Mr. Terpin to remain a customer. Id. Mr.
                                                                 23    Terpin believed AT&T’s promises and remained an AT&T customer. Id. ¶¶ 143,
                                                                 24    151.
                                                                 25              The SAC also alleges that AT&T made the following false statements and/or
                                                                 26    omissions to Mr. Terpin:
                                                                 27                (1) In June 2017, after the initial SIM swap, AT&T representatives
                                                                 28                     encouraged Mr. Terpin to adopt additional security measures (adding a
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                                                                  1                     six digit code) without telling Mr. Terpin that such security measures
                                                                  2                     could readily be evaded or bypassed by AT&T employees acting in
                                                                  3                     concert with individuals perpetrating SIM swap fraud;
                                                                  4               (2) at all times herein relevant prior to the second SIM swap in January
                                                                  5                     2018, AT&T concealed the fact that its employees frequently acted in
                                                                  6                     concert with individuals perpetrating SIM swap fraud to provide such
                                                                  7                     individuals with personal information about its mobile users;
                                                                  8               (3) at all times herein relevant prior to the second SIM swap in January
                                                                  9                     2018, AT&T concealed the fact that its employees frequently acted in
                                                                 10                     concert with individuals perpetrating SIM swap fraud to provide such
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                                                                 11                     individuals with direct access to their customers’ accounts, which
                                                                 12                     enabled such individuals to intercept 2FA messages to customers; and
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                                                                 13               (4) because of the inadequacies of AT&T’s security measures and the active
                                                                 14                     participation of its employees in SIM swaps that AT&T’s promises in its
                                                                 15                     Privacy Policy had no value.
                                                                 16    SAC ¶ 144.
                                                                 17                       2.    AT&T Had a Duty to Disclose Material Facts.
                                                                 18              AT&T alleges that Plaintiff’s Third Claim for Deceit by Concealment should
                                                                 19    be dismissed because defendant did not have a legal duty to disclose a material fact.
                                                                 20    AT&T’s argument is incorrect because three of the four circumstances set forth in
                                                                 21    Hodson v. Mars, Inc., 891 F.3d 857, 862 (9th Cir. 2018), which it cites, existed in
                                                                 22    this case.
                                                                 23              First, a duty arose because AT&T in fact had “exclusive knowledge of
                                                                 24    material facts” relating to its security system. Mr. Terpin had no way of knowing
                                                                 25    that the additional security precautions that AT&T was urging were not adequate.
                                                                 26    He accepted the affirmative statements that AT&T made after the June 11, 2017
                                                                 27    SIM swap and did not realize AT&T was hiding and concealing the true facts.
                                                                 28    SAC ¶¶ 92, 143. Although Mr. Terpin was knowledgeable about cryptocurrency—
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                                                                  1    the SAC does not allege that he was an expert on security measures of
                                                                  2    telecommunications providers, id. ¶ 18, nor is such an inference logical. Indeed, as
                                                                  3    the SAC alleges, Mr. Terpin was only contacted by other victims of SIM swaps
                                                                  4    after he filed the initial complaint in this action. See SAC ¶ 14 (“[s]ince the hack to
                                                                  5    Mr. Terpin has occurred and this lawsuit has been filed, he has been contacted by
                                                                  6    more than 50 SIM swap victims of AT&T, including many who had cryptocurrency
                                                                  7    stolen under nearly identical circumstances”) (emphasis added). 2
                                                                  8              By contrast, AT&T is one of the world’s largest corporations and it and its
                                                                  9    Chief Security Officer Bill O’Hern and Chief Compliance officer David Huntley
                                                                 10    may fairly be presumed to have profound and superior knowledge about its security
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                                                                 11    system. Id. ¶ 75. Moreover, AT&T is legally required by the Federal
                                                                 12    Communications Act (“FCA”), 47 U.S.C. §§ 206, 222 and an ongoing FCC
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                                                                 13    Consent Degree to protect its customers’ personal information, including protecting
                                                                 14    it from being improperly accessed by its own employees. Id. ¶¶ 39-46, 51. Under
                                                                 15    these circumstances AT&T undoubtedly had the “exclusive knowledge” sufficient
                                                                 16    to give rise to a duty to speak
                                                                 17              Secondly, AT&T also had a duty under Hodson to disclose material facts to
                                                                 18    Mr. Terpin because it actively concealed material facts from Mr. Terpin.
                                                                 19    Specifically, AT&T told Mr. Terpin on June 13, 2017 that he would be protected
                                                                 20    against future SIM swaps by using the “higher” security afforded by a six digit code
                                                                 21    but actively concealed the fact this security could be overridden or ignored by
                                                                 22    AT&T employees. See SAC ¶¶ 11, 13, 77-79, 83, 89-94. AT&T’s concealment is
                                                                 23    indeed an “affirmative act” directed to Mr. Terpin in which AT&T hid or concealed
                                                                 24    its imperfect security. See Czuchaj v. Conair Corp., 2014 WL 1664235, at * 6
                                                                 25    (S.D.Cal. April 18, 2014). AT&T’s active concealment consisted of its intentional
                                                                 26
                                                                       2
                                                                        Similarly, all of the SIM swaps referenced in the SAC occurred after Mr. Terpin’s
                                                                 27    SIM swap. See SAC ¶¶ 60-82. The only SIM Swap which is referenced in the
                                                                       SAC that occurred before the January 2018 hack was that experienced by Mr.
                                                                 28    Terpin on June 11, 2017. See SAC ¶¶ 88-89.
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                                                                  1    act in seeking to retain Mr. Terpin as a customer.
                                                                  2              AT&T’s statements after the June 11, 2017 are “partial representations” by
                                                                  3    AT&T that were accompanied by “concealment of material facts” that also gave
                                                                  4    rise to a duty to speak. See Hodson at 862 (quoted in the Motion at p. 5). The
                                                                  5    “partial representations” are AT&T’s statements regarding the efficacy of the six-
                                                                  6    digit code. The “concealment” is AT&T’s concealment of the fact that employees
                                                                  7    could easily evade or bypass these protections, which in turn reveals the fallacy of
                                                                  8    the assurances of higher security as a result of using the six-digit code. AT&T’s
                                                                  9    concealment certainly involves facts that would have “materially qualif[ied] the
                                                                 10    facts disclosed or which render [AT&T’s] disclosure likely to mislead.” Herron v.
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                                                                 11    Best Buy Co. Inc., 924 F. Supp. 2d 1161, 1177 (E.D.Cal. 2013). See SAC ¶ 161
                                                                 12    (“Mr. Terpin would not have agreed to continue to use and pay for AT&T’s
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                                                                 13    services if he had known that the additional security protection was ineffective and
                                                                 14    that AT&T’s other security measures were not as secure as represented by AT&T. .
                                                                 15    . .”)
                                                                 16              AT&T is thus incorrect in stating that the “gravamen” of the SAC is the
                                                                 17    inadequacy of AT&T’s security system in and of itself. Mr. Terpin has multiple
                                                                 18    claims and these concealment claims are grounded in the allegations that the
                                                                 19    specific statements about heightened additional security, which were made to him
                                                                 20    by AT&T after the June 11, 2017 hack, were inadequate and that AT&T made
                                                                 21    material omissions regarding those statements to hide the inadequacy of its security
                                                                 22    measures.
                                                                 23              Mr. Terpin further provides adequate context for his allegations regarding the
                                                                 24    falsity and incompleteness of AT&T’s promises regarding the “higher level” six-
                                                                 25    digit security. SAC ¶¶ 89-90. Based on information and investigations obtained by
                                                                 26    Mr. Terpin, including information after his initial complaint was filed, Mr. Terpin
                                                                 27    has alleged that AT&T employees frequently bypass or ignore its vaunted security
                                                                 28    systems, including the additional code, because such security could be easily
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                                                                  1    overridden. For example, Mr. Terpin includes in his allegations statements by the
                                                                  2    Santa Clara County REACT task force that telecommunication providers’ security
                                                                  3    is highly inadequate in preventing SIM fraud. SAC ¶ 74 (“someone needs to light a
                                                                  4    fire under some folks [at the telecommunications providers] to get these protections
                                                                  5    [to prevent SIM swap fraud] in place”). He further alleges that according to an
                                                                  6    AT&T employee quoted in the August 3, 2018 Motherboard article that AT&T
                                                                  7    employees can override security features including “the phone passcode that AT&T
                                                                  8    (and other companies) now require when porting numbers” (SAC ¶ 78). Mr.
                                                                  9    Terpin’s allegations thus provide more than adequate context for his allegations that
                                                                 10    AT&T had a duty to disclose material facts to him when he met with AT&T after
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                                                                 11    the June 11, 2017 SIM swap.
                                                                 12              AT&T’s argument that it disclosed (generally) in its Privacy Policy that it
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                                                                 13    does not “guarantee” security does not mean either that it had no duty to disclose
                                                                 14    additional facts regarding security or provide AT&T from immunity particularly as
                                                                 15    regards to the “higher level” security it convinced Mr. Terpin to place on his
                                                                 16    account. The unremarkable statement that AT&T cannot “guarantee” security in no
                                                                 17    way obviates Mr. Terpin’s allegation that he relied on the statements made
                                                                 18    regarding a specific security measure that he was urged to place on his account,
                                                                 19    particularly because AT&T told him that “anyone accessing or changing Mr.
                                                                 20    Terpin’s account [would have] to provide a six-digit passcode to AT&T.” SAC
                                                                 21    ¶ 89. 3 Unlike the cases cited in the Motion at p. 8, AT&T’s “warning” was highly
                                                                 22    general and AT&T certainly did not reiterate the warning when it fought to keep
                                                                 23    Mr. Terpin’s business by encouraging specific implementation of the “higher level”
                                                                 24
                                                                 25    3
                                                                         AT&T’s anodyne statement that it could not “guarantee” perfect security would
                                                                       hardly have alerted Mr. Terpin to the fact that AT&T did not even have
                                                                 26    rudimentary security to protect its own systems from misuse or that its employees
                                                                       could readily evade or override its security measures. See SAC ¶ 58. See also ¶ 78
                                                                 27    (AT&T employee cited to fact that AT&T employees could evade or override
                                                                       security measures, including the “phone passcode that AT&T (and other
                                                                 28    companies) now require when porting numbers.”
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                                                                  1    security through the six-digit code. This is therefore not a situation like that in
                                                                  2    Riggins v. Ortho McNeil Pharm. Inc., 51 F. Supp. 3d 708, 712 (N.D. Ohio 2014),
                                                                  3    where the defendant disclosed dangers when it sold a product. Nor did AT&T in
                                                                  4    fact “actually disclose” any information regarding the defects of the additional
                                                                  5    security measures when it made statements regarding the “higher level” six-digit
                                                                  6    code security on June 13, 2017. In contrast to Clayton v. Landsing Pac. Fund, Inc.,
                                                                  7    2002 WL 1058247, at *6 (N.D.Cal. May 9, 2002), aff’d, 56 F. App’x 379 (9th Cir.
                                                                  8    2003), at the time the representations were made by AT&T to Mr. Terpin,
                                                                  9    information regarding the inefficacy of the six-digit code was not readily found in
                                                                 10    the market. Mr. Terpin’s allegations regarding the ease by which employees could
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                                                                 11    evade the security is based on information obtained after he was SIM swapped.
                                                                 12                       3.   Mr. Terpin Has Adequately Plead that he was Unaware of
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                                                                 13                            Concealed Material Facts.
                                                                 14              AT&T is incorrect that Mr. Terpin has not adequately plead he was aware of
                                                                 15    the concealed material facts. In the SAC, Mr. Terpin specifically alleges that he
                                                                 16    was unaware that AT&T concealed that the additional security he was promised
                                                                 17    after the June 11, 2017 hack (i.e., the six-digit passcode) was inadequate. SAC ¶
                                                                 18    92. Moreover, he specifically alleges that if he had been aware that the additional
                                                                 19    security was inadequate, that he would have left AT&T as his mobile carrier. Id.
                                                                 20              It is risible for AT&T to claim that Mr. Terpin would have known that
                                                                 21    AT&T’s six-digit code could be overridden or evaded by AT&T employees simply
                                                                 22    by virtue of his involvement in cryptocurrency. Motion, p. 9. Moreover, as AT&T
                                                                 23    itself acknowledges, Mr. Terpin was only contacted by other victims of AT&T’s
                                                                 24    inadequate security practices after he filed his complaint in this action so that
                                                                 25    information could not have put him on guard regarding AT&T’s fraud. Moreover,
                                                                 26    for AT&T to claim that because Mr. Terpin had been victimized in the first SIM
                                                                 27    swap that he should have known about the inadequacies of AT&T’s security is
                                                                 28    astonishingly obtuse. Having been SIM swapped, Mr. Terpin was of course aware
                                                                      83764-00002/3761537.4                         9         OPPOSITION TO MOTION TO DISMISS
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                                                                  1    of the practice. This is why he asked for (and was promised by AT&T) additional
                                                                  2    security. In the event, AT&T did not disclose when he met with AT&T that the
                                                                  3    additional security measures were worthless.
                                                                  4              B.       Mr. Terpin Has Adequately Plead His Fourth Claim for Relief for
                                                                  5                       Misrepresentation.
                                                                  6                       1.   Mr. Terpin Adequately Alleges Reliance.
                                                                  7              In his misrepresentation claim, Mr. Terpin alleges that “separate” from
                                                                  8    representations and false promises made by AT&T in its Code of Business Conduct
                                                                  9    and other documents that “an AT&T employee made specific promises to Mr.
                                                                 10    Terpin after the June 11, 2017 hack regarding the security protection that would be
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                                                                 11    given to Mr. Terpin’s personal information by adding a six-digit security code on
                                                                 12    the account. The AT&T employee did so in order to persuade Mr. Terpin not to
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                                                                 13    cancel his AT&T service.” SAC ¶ 159. Mr. Terpin further alleges that “AT&T
                                                                 14    intended that Mr. Terpin rely on their representations and promises, including those
                                                                 15    made after the June 11, 2017 hack, as it knew that Mr. Terpin would not entrust his
                                                                 16    Personal Information to unreasonable security risks, particularly because Mr.
                                                                 17    Terpin had been subject to the June 11, 2017 hack. In reliance upon AT&T’s
                                                                 18    representations and promises, Mr. Terpin continued to maintain a wireless account
                                                                 19    with AT&T and to use his AT&T phone number for verification and other
                                                                 20    promises.” Id. ¶ 162.
                                                                 21              Mr. Terpin thus clearly alleges “exposure” to statements by AT&T (in this
                                                                 22    case in a face-to-face meeting with an AT&T representative in which the statements
                                                                 23    were made), AT&T’s intent that Mr. Terpin rely on the representations (by
                                                                 24    retaining him as an AT&T customer), and the fact that Mr. Terpin in fact did rely
                                                                 25    on the representations (by continuing to be an AT&T customer). SAC ¶ 92. Thus,
                                                                 26    even if the Court were to find that Mr. Terpin has not alleged adequate reliance on
                                                                 27    documents referenced in the SAC, the Fourth Claim for Relief should still proceed
                                                                 28    on the basis that AT&T made representations to him regarding its security measures
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                                                                  1    after the June 11, 2017 hack on which he relied. See Johnson v. Riverside
                                                                  2    Healthcare Sys., LP, 534 F.3d 1116, 1121-22 (9th Cir. 2008) (to survive a motion to
                                                                  3    dismiss compliant must present cognizable legal theories and sufficient allegations
                                                                  4    to support those theories).
                                                                  5                       2.   Mr. Terpin has Adequately Alleged that AT&T’s statements
                                                                  6                            were known to be false.
                                                                  7              AT&T additionally argues that the claim should be dismissed because Mr.
                                                                  8    Terpin has not adequately alleged that AT&T did not intend to ignore the
                                                                  9    heightened security protocol and that all Mr. Terpin has alleged is that AT&T did
                                                                 10    not perform its promise. In making this argument, AT&T—for the first time after
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                                                                 11    two prior rounds of motion practice—claims under Rule 9(b) of the Federal Rules
                                                                 12    of Civil Procedure that Mr. Terpin’s claim is not plead with particularity (without
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                                                                 13    expressly stating that it is doing so).
                                                                 14              Mr. Terpin’s claims pass muster under Rule 9(b) because AT&T
                                                                 15    undoubtedly has notice of the “particular misconduct so that [it] can defend against
                                                                 16    the charge[.].” Vess v. Ciba-Geigy Corp., USA, 317 F.3d 1097, 1006 (9th Cir. 2003).
                                                                 17    AT&T has knowledge from the SAC of the representations that were made to Mr.
                                                                 18    Terpin (regarding six-digit “higher level” security), the date of those representations
                                                                 19    (June 13, 2017), the location (a Puerto Rico AT&T store), and the statements made
                                                                 20    by the AT&T representative at that meeting. Swartz v. KPMG LLP, 476 F.3d 756,
                                                                 21    764 (9th Cir. 2007).
                                                                 22              Defendant’s claim that Mr. Terpin has not adequately alleged that AT&T did
                                                                 23    not intend to perform its promise can also be expressed as whether AT&T’s
                                                                 24    statements were “false when made.” See UMG Recordings, Inc. v. Global Eagle
                                                                 25    Entertainment, Inc., 117 F. Supp. 3d 1092, 1108 (C.D.Cal. 2015) (“plaintiff must
                                                                 26    plead facts explaining why the statement was false when made” (quoting Smith v.
                                                                 27    Allstate Ins. Co., 160 F. Supp. 2d 1150, 1152 (S.D. Cal. 2001)). At the pleading
                                                                 28    stage of a promissory fraud claim, the determination of this question only “requires
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                                                                  1    pleading facts from which it can be inferred that the promisor had no intention of
                                                                  2    performing at the time the promise was made.” Id.
                                                                  3              Mr. Terpin here alleges more than mere non-performance. He alleges that
                                                                  4    AT&T “did not intend to perform either its promises in the Privacy Policy or after
                                                                  5    the June 11, 2017 hack regarding the security protection that would be given to Mr.
                                                                  6    Terpin’s personal information by adding a six-digit security code on the account.”
                                                                  7    SAC ¶159. The reason why AT&T did not intend to perform its promises was
                                                                  8    because AT&T “knew that is security protections, including the six-digit security
                                                                  9    code were ineffectual and could easily be evaded or bypassed by its employees.”
                                                                 10    SAC ¶ 160. Mr. Terpin also alleges that such “representations and promises were .
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                                                                 11    . . false because AT&T was using outdated security procedures and failed to
                                                                 12    disclose that it did not adhere to its own standards. . . .” Id. AT&T further knew
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                                                                 13    that the statements were false because it knew “it did not have in place state-of-the
                                                                 14    art security protections, such as a SIM lock out.” Id.
                                                                 15              As in Tenzer v. Superscope, Inc., 39 Cal. 3d 18, 30-31 (1985), AT&T’s
                                                                 16    fraudulent intent can be inferred by the facts and circumstances alleged in the SAC,
                                                                 17    including its knowledge that its employees could easily evade the protections (as
                                                                 18    shown in statements by an AT&T employee in the Motherboard article). Under
                                                                 19    these circumstances Mr. Terpin has properly alleged that AT&T knew that its
                                                                 20    promise that such a security standard would protect Mr. Terpin was false when
                                                                 21    made. 4
                                                                 22              Moreover, Mr. Terpin is not alleging that AT&T failed to “guarantee”
                                                                 23    security, that its promises were “overly optimistic,” or that AT&T had an “honest
                                                                 24
                                                                 25    4
                                                                         The standard for false representations is that they are “false” when made. Falsity
                                                                       can be expressed as the falsity of the statements themselves. See Smith v. Allstate
                                                                 26    Ins. Co., 160 F. Supp. 2d 1150, 1153-54 (S.D.Cal. 2001), cited in the Motion p. 12
                                                                       (plaintiff must “plead facts explaining why the statement was false when it was
                                                                 27    made”). In this case, AT&T’s statements regarding the security procedures were
                                                                       false not simply because AT&T did not keep its promises, but also because the
                                                                 28    statements themselves were intrinsically false.
                                                                      83764-00002/3761537.4                       12         OPPOSITION TO MOTION TO DISMISS
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                                                                  1    but unreasonable intent to perform.” Motion, p. 13. Instead, Mr. Terpin is alleging
                                                                  2    that AT&T promoted a security protocol that afforded no real security because it
                                                                  3    knew that it could be evaded or overridden by its employees. AT&T knew that
                                                                  4    even after AT&T placed the six-digit code on Mr. Terpin’s account that this would
                                                                  5    not prevent employees from overriding or ignoring the protocol. AT&T’s
                                                                  6    statements to Mr. Terpin after the June 11, 2017 hack were thus demonstrably false.
                                                                  7              C.       Mr. Terpin Has Properly Alleged Punitive Damages.
                                                                  8                       1.   Mr. Terpin’s Alleges Punitive Damages Based on the Actions of
                                                                  9                            AT&T’s Officers and Managing Agents.
                                                                 10              AT&T’s motion to strike punitive damages distorts the allegations of the
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                                                                 11    SAC. Mr. Terpin’s claim for punitive damages arises from the direct actions of
                                                                 12    AT&T undertaken through its officers and management—not from the actions of a
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                                                                 13    single individual (Jahmil Smith). 5 As the SAC alleges, AT&T consciously and
                                                                 14    maliciously put in place a system that it knew would not protect the security and
                                                                 15    privacy of its customers’ personal information. As the SAC further alleges, the
                                                                 16    “higher level” security measures that AT&T urged Mr. Terpin to adopt after the
                                                                 17    first SIM swap on June 11, 2017 were known to AT&T to be ineffectual because
                                                                 18    they could readily be bypassed or overridden by AT&T employees. SAC ¶¶ 89-92.
                                                                 19    AT&T is thus subject to punitive damages not because of the actions of the
                                                                 20    individual who is believed to have turned over the information, but because its
                                                                 21    corporate managerial employees knowingly implemented and maintained a system
                                                                 22    that did not protect the private information and communications of its customers.
                                                                 23    See Cruz v. Homebase, 83 Cal. App. 4th 160, 167 (2000) (award of punitive
                                                                 24    damages against a corporation rests on proof of malice of corporate leaders (citing
                                                                 25    Cal. Civ. Code § 3294(b)).
                                                                 26
                                                                       5
                                                                         Mr. Terpin has alleged claims for negligent supervision and training and negligent
                                                                 27    hiring (sixth and seventh claims for relief) that may implicate AT&T’s actions in
                                                                       regard to employees (or contractors) like Mr. Smith and his employer Spring
                                                                 28    Communications. See Motion, p. 8, n. 3.
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                                                                  1                           a.   AT&T Has Violated Its Obligations Under Law By
                                                                  2                                Allowing Its Employees to Turn Over its Customers’
                                                                  3                                Personal Information.
                                                                  4              AT&T was well aware of its obligations to protect its customers’ personal
                                                                  5    information and equally well aware that its security systems were inadequate.
                                                                  6    AT&T had an obligation under Section 222(a) of the FCA, 47 U.S.C. § 222(a), to
                                                                  7    protect the confidential information of its customers. SAC ¶¶ 28-34. Under the
                                                                  8    FCC’s CPNI Rules implementing the FCA, AT&T was required to establish
                                                                  9    measures to prevent the disclosure of CPNI by employees to unauthorized
                                                                 10    individuals, including presentation of adequate means of identification by
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                                                                 11    customers to AT&T. SAC ¶ 34.
                                                                 12              Moreover, the SAC alleges that AT&T and its corporate officers were put on
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                                                                 13    notice regarding its employees’ disclosure of its customers’ personal information
                                                                 14    through the April 8, 2015 FCC Consent Decree and were required to remedy the
                                                                 15    deficiencies in AT&T’s security, hiring and training practices. See SAC ¶¶ 39-51.
                                                                 16    In conjunction with a pretexting scam, the FCC fined AT&T a record $25 million
                                                                 17    for violating Section 222 of the FCA by allowing its employees to hand over to
                                                                 18    thieves the personal information of almost 280,000 customers. Id. ¶ 39. In the
                                                                 19    consent decree of the same date (“Consent Decree”) (which remains in full force
                                                                 20    and effect), the FCC cited (i) AT&T’s lax security practices; (ii) the fact that
                                                                 21    employees were paid by criminals to hand over AT&T customers’ personal
                                                                 22    sensitive information; (iii) the further fact that AT&T employees readily breached
                                                                 23    AT&T’s security; and (iv) AT&T’s failure properly to supervise its employees. Id.
                                                                 24    ¶¶ 40-43.
                                                                 25              In the Consent Decree the FCC ordered AT&T to (i) take “every reasonable
                                                                 26    precaution” to protect customers’ data; (ii) imposed obligations on AT&T to
                                                                 27    properly manage and supervise employees; (iii) required AT&T to designate “a
                                                                 28    senior corporate manager with the requisite corporate and organization authority to
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                                                                  1    serve as a Compliance Officer; and (iv) required the company to implement a
                                                                  2    “Compliance Plan” including an “Information Security Program,” “Ongoing
                                                                  3    Monitoring and Improvement,” and a “Compliance Review.” Id. ¶¶ 44-47. The
                                                                  4    “Information Security Program” required under the Consent Decree specifically
                                                                  5    required AT&T to implement “access controls reasonably designed to limit access
                                                                  6    to Personal Information and CPNI to authorized AT&T employees, agents, and
                                                                  7    Covered Vendor Employees.” ¶ 48 (emphasis added).
                                                                  8                           b.   AT&T’s Corporate Officers Deliberately Perpetuated A
                                                                  9                                Grossly Inadequate Security System.
                                                                 10              AT&T and its corporate officers Bill O’Hern, who has been AT&T’s Chief
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                                                                 11    Security Officer and headed AT&T’s security operations since 2016, and David S.
                                                                 12    Huntley, AT&T’s Executive Vice President & Chief Compliance Officer, are
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                                                                 13    presumptively well aware of AT&T’s security system and the requirements of the
                                                                 14    Consent Decree as pertains to employees protecting customers’ personal
                                                                 15    information. SAC ¶ 75. Indeed, Mr. Huntley (who bears the “Compliance Officer”
                                                                 16    title referenced in the Consent Decree) is responsible at AT&T for “verifying
                                                                 17    compliance with legal and regulatory requirements of the countries and
                                                                 18    jurisdictions where AT&T operates, and ensuring adherence to internal compliance
                                                                 19    standards.” Id., citing https://investors.att.com/corporate-governance/leadership.
                                                                 20    These compliance standards likely include adherence to the requirements of the
                                                                 21    Consent Decree.
                                                                 22              The SAC thus alleges that AT&T deliberately ignored the requirements of
                                                                 23    the Consent Decree by establishing and continuing to promote to its customers a
                                                                 24    system that it knew did not protect customers’ information. Moreover, AT&T,
                                                                 25    acting through executives like Messrs. O’Hern and Huntley, did nothing to prevent
                                                                 26    AT&T employees from turning over that information to hackers in SIM swaps.
                                                                 27    SAC ¶ 109. The SAC further alleges that AT&T’s corporate officers, including
                                                                 28    Messrs. O’Hern and Huntley, knew that AT&T’s security system was inadequate,
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                                                                  1    knew that its employees could readily bypass or ignore the system, and that its
                                                                  2    employees were susceptible to bribes to turn information over to hackers. SAC
                                                                  3    ¶¶ 75, 77-79, 83-84, 90-93, 143-45, 149, 156.
                                                                  4              Mr. Terpin discovered the manifest deficiencies of the system to his peril
                                                                  5    when an AT&T employee turned over his information to hackers, despite the
                                                                  6    vaunted “higher level” security that AT&T had placed on his account. As a result
                                                                  7    of the disclosure of personal information and communications, Mr. Terpin lost over
                                                                  8    $24 million in cryptocurrency.
                                                                  9                           c.    The SAC Adequately Alleges that Employees Can
                                                                 10                                 Readily Evade or Bypass AT&T’s Security System.
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                                                                 11              Although he has not had the benefit of discovery from AT&T, Mr. Terpin
                                                                 12    has substantiated his allegations against AT&T with information about other SIM
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                                                                 13    swaps involving AT&T employees and media stories about the security of AT&T
                                                                 14    and other telecommunications carriers. See, e.g., SAC ¶¶ 73-74 (REACT task force
                                                                 15    cites store employees’ involvement in SIM swaps because of carriers’ inadequate
                                                                 16    security); ¶ 76 (carriers are “weakest link” in security according to authors of article
                                                                 17    in bitcoinist.com); ¶78 (Motherboard article quotes AT&T employee as stating that
                                                                 18    AT&T doesn’t have sufficient safeguards to stop employees and that the AT&T
                                                                 19    “system is designed so that some employees have the ability to override security
                                                                 20    features such as the phone passcode that AT&T (and other companies) now require
                                                                 21    when porting numbers”).
                                                                 22              The pattern that emerges from these reports is similar to the pretexting cases
                                                                 23    that led to the FCC’s Consent Decree. As reported by both insiders and law
                                                                 24    enforcement, AT&T employees are readily bribed to turn over the personal
                                                                 25    information of its customers to hackers, who use that information to commit SIM
                                                                 26    swaps. SAC ¶¶ 9, 67, 73. Ignoring the Consent Decree (and apparently not
                                                                 27    deterred by a $25 million fine), AT&T and its corporate officers are again
                                                                 28    maintaining a system that does nothing to prevent employees from turning over its
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                                                                  1    customers’ personal information and communications. Moreover, as the SAC
                                                                  2    alleges, AT&T and its officers and managers have not put in place measures, such
                                                                  3    as a SIM lockdown, that would provide further protection of its customers’
                                                                  4    information and communications.         SAC ¶¶ 14, 143.
                                                                  5                       2.   Cases Involving the Ratification of the Actions of Low-Level
                                                                  6                            Employees are Not Relevant.
                                                                  7              Unlike many of the cases cited by AT&T, this is not a case where corporate
                                                                  8    officers’ knowledge of a specific lower level employee charged with wrongful
                                                                  9    conduct (such as sexual harassment or stalking) provides a basis for punitive
                                                                 10    damages through ratification of the employee’s actions. Instead, the gravamen of
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                                                                 11    Mr. Terpin’s allegations is that the actions of AT&T’s corporate officers and
                                                                 12    managing agents were malicious, oppressive and fraudulent.
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                                                                 13              Under Civil Code § 3294(a), “[i]n an action for the breach of an obligation
                                                                 14    not arising from contract, where it is proven by clear and convincing evidence that
                                                                 15    the defendant has been guilty of oppression, fraud, or malice, the plaintiff, in
                                                                 16    addition to the actual damages, may recover damages for the sake of example and
                                                                 17    by way of punishing the defendant.”
                                                                 18              Civil Code § 3294(b) further provides that “[a]n employer shall not be liable
                                                                 19    for damages pursuant to subdivision (a), based upon acts of an employee of the
                                                                 20    employer, unless the employer had advance knowledge of the unfitness of the
                                                                 21    employee and employed him or her with a conscious disregard of the rights or
                                                                 22    safety of others or authorized or ratified the wrongful conduct for which the
                                                                 23    damages are awarded or was personally guilty of oppression, fraud, or malice. With
                                                                 24    respect to a corporate employer, the advance knowledge and conscious disregard,
                                                                 25    authorization, ratification or act of oppression, fraud, or malice must be on the part
                                                                 26    of an officer, director, or managing agent of the corporation.”
                                                                 27              In order to impose punitive damages on a corporation, California’s “punitive
                                                                 28    damages statute requires proof of malice among corporate leaders: the ‘officer[s],
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                                                                  1    director[s], or managing agent[s].’” Cruz, at 166. “Managing agents” are
                                                                  2    “employees who ‘exercise [] substantial discretionary authority over decisions that
                                                                  3    ultimately determine corporate policy.’” Id., quoting White v. Ultramar, 21 Cal.
                                                                  4    4th 563, 577 (1999). The purpose of punitive damages is to punish malice “among
                                                                  5    corporate leaders” who “guide corporate conduct” and to “avoid[] punishing the
                                                                  6    corporation for malice of low-level employees which does not reflect the corporate
                                                                  7    ‘state of mind’ or the intentions of corporate leaders.” Cruz, 83 Cal. App. 4th at
                                                                  8    167.
                                                                  9              Many of the cases cited by AT&T are irrelevant to the allegations of the SAC
                                                                 10    because they involve the issue of whether a corporation through its managing
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                                                                 11    agents ratified the conduct of a lower level employee. For example, in Weeks v.
                                                                 12    Baker & McKenzie, 63 Cal. App. 4th 1128, 1154 (1998) the issue was whether a law
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                                                                 13    firm was liable for the actions of an employee because an “officer, director or
                                                                 14    managing agent” had knowledge of the unfitness of the employee and employed
                                                                 15    him with the conscious disregard of the safety of others. See Motion, p. 15.
                                                                 16    Similarly, in Coll. Hosp. Inc. v. Superior Ct., 8 Cal. 4th 704, 726 (1999) the issue
                                                                 17    related to an employer’s ratification of an employee’s misconduct. See also Razo v.
                                                                 18    TIMEC Co.,Inc., 2017 WL 5079249, at *19 (N.D.Cal. Nov 3, 2017) (lack of
                                                                 19    knowledge of executives of an unfit employee. These cases (and similar cases cited
                                                                 20    by AT&T) are not applicable here because Mr. Terpin is alleging that AT&T
                                                                 21    directly engaged in despicable conduct by setting “corporate policy” through its
                                                                 22    officers, directors and managing agents, not that it ratified the actions of Jahmil
                                                                 23    Smith. See Cruz, supra, at 167-168.
                                                                 24              Contrary to AT&T’s implication, Mr. Terpin did not pull the names of Mr.
                                                                 25    O’Hern and Mr. Huntley out of a hat. Based on publicly available information,
                                                                 26    these are precisely the individuals at AT&T who are responsible for setting
                                                                 27    AT&T’s corporate policy regarding security and privacy matters. SAC ¶¶ 75, 77-
                                                                 28    79, 83-84, 90-93, 143-45, 149, 156. Although Mr. Terpin has not had the benefit of
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                                                                  1    discovery to uncover the exact mechanics of AT&T’s implementation of its
                                                                  2    ineffective security program, Mr. Huntley is the Chief Compliance Officer of
                                                                  3    AT&T (and thus was called upon in the FCC’s Consent Decree to implement
                                                                  4    improvements to AT&T’s security system necessary to prevent its employees from
                                                                  5    turning over the personal information of its customers). According to publicly
                                                                  6    available information, Mr. Huntley is also responsible for regulatory compliance
                                                                  7    and privacy at AT&T. See SAC ¶ 75, citing https://investors.att.com/corporate-
                                                                  8    governance/leadership (article on David S. Huntley). Mr. O’Hern is also named
                                                                  9    because he is in charge of security at AT&T and is thus charged with making sure
                                                                 10    that customers’ information is secure. SAC ¶ 75, citing
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                                                                 11    https://about.att.com/innovationblog/030116billohern (article on Bill O’Hern). In
                                                                 12    any event, AT&T’s assertions on this issue are not properly addressed at the
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                                                                 13    pleading stage.
                                                                 14                       3.   Mr. Terpin Has Adequately Alleged Malice, Oppression and
                                                                 15                            Fraud by AT&T and its Managing Agents.
                                                                 16              AT&T further argues that Mr. Terpin has not plead the requisite mental state
                                                                 17    of its officers and managing agents. This argument rests on the same
                                                                 18    misconception as its first argument, i.e., that the requisite mental state relates to
                                                                 19    such officers’ knowledge regarding a single individual (Mr. Smith) as opposed to
                                                                 20    the mental state of the executives and managing agents themselves as to AT&T’s
                                                                 21    inadequate security program. In that regard, Mr. Terpin has indeed specifically
                                                                 22    alleged facts, including “conduct that is both willful and despicable” and that
                                                                 23    “subjects a person to cruel and unjust hardship in conscious disregard of that
                                                                 24    person’s rights.” Motion, p. 19, quoting Lackner v. North, 135 Cal. App. 4th 1188,
                                                                 25    1211, 1213 (2006); Perez v. Auto Tech. Co., 2014 WL 12588644 (C.D.Cal. July 14,
                                                                 26    2014). See also Cal. Civ. Code § 3294(c)(1) (defining malice (in part) as “conduct
                                                                 27    which is carried on by the defendant with a willful and conscious disregard of the
                                                                 28    rights of others”); § 3294(c)(2) (defining oppression as “despicable conduct that
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                                                                  1    subjects a person to cruel and unjust hardship in conscious disregard of that
                                                                  2    person’s rights”) and § 3294(c)(3) (defining fraud as “intentional misrepresentation,
                                                                  3    deceit or concealment of a material fact known to the defendant with the intention
                                                                  4    on the part of the defendant of thereby depriving a person of property or legal rights
                                                                  5    or otherwise causing injury”).
                                                                  6              Mr. Terpin alleges that AT&T, despite its knowledge that its employees had
                                                                  7    betrayed the privacy of customer accounts previously and its obligation under the
                                                                  8    Consent Decree to institute a security program that would prevent its employees
                                                                  9    from turning over customer information to third parties, consciously and
                                                                 10    deliberately established a security system that it knew could be overridden or
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                                                                 11    ignored by employees to turn over customer information to hackers for SIM swaps.
                                                                 12    The SAC further alleges that AT&T did not properly hire, monitor or supervise its
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                                                                 13    employees (despite its obligation to do so under the Consent Decree). Moreover,
                                                                 14    AT&T consciously and deliberately violated the promises that it made in its privacy
                                                                 15    policies about protecting customers’ information by encouraging Mr. Terpin after
                                                                 16    the June 11, 2017 SIM swap to implement a six-digit code that it knew could easily
                                                                 17    be evaded or overridden by its employees. These allegations are substantiated by
                                                                 18    statements by law enforcement and an AT&T employee. SAC ¶¶ 73-74, 77-78.
                                                                 19    These actions are not only malicious and oppressive, but also constitute fraud.
                                                                 20    Indeed, Mr. Terpin in his third and fourth claims for relief allege the elements of
                                                                 21    both claims for misrepresentation and false promise involving the acts of AT&T
                                                                 22    officers and managing agents. Such actions undoubtedly are fraud under Civil
                                                                 23    Code § 3294(c)(3).
                                                                 24              AT&T is incorrect that the SAC merely contains “conclusory allegations.”
                                                                 25    As outlined above, the SAC contains detailed allegations replete with context and
                                                                 26    citations to other sources substantiating a pattern on the part of AT&T and its
                                                                 27    employees. Contrary to AT&T’s unsupported charge, the inferences that Mr.
                                                                 28    O’Hern and Mr. Huntley were knowledgeable and were involved in the corporate
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                                                                  1    policy is established by their roles in the company as stated in AT&T’s public
                                                                  2    materials. Indeed, Mr. Huntley as AT&T’s “Compliance Officer” is charged with
                                                                  3    protecting customers’ personal information. See SAC ¶¶ 46, 56 and 75. Because of
                                                                  4    their roles and responsibilities, Messrs. O’Hern and Huntley are charged with
                                                                  5    knowledge of the security lapses that led employees to divulge personal information
                                                                  6    to third parties to facilitate SIM swaps and AT&T’s obligations to comply with its
                                                                  7    responsibilities to protect customers’ personal information.
                                                                  8                       4.   Mr. Terpin may Obtain Punitive Damages for Claims 5-7.
                                                                  9              AT&T further alleges that punitive damages are not available for Mr.
                                                                 10    Terpin’s claims for negligence, negligence supervision, and negligent hiring.
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                                                                 11    AT&T cites no authority for striking the punitive damages for these claims at this
                                                                 12    stage prior to discovery. The unremarkable principle that punitive damages may
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                                                                 13    not be based on mere negligence is a principle that applies to an award of punitive
                                                                 14    damages at trial—not striking the claims at the pleading stage before discovery has
                                                                 15    even commenced.
                                                                 16              As the SAC alleges, the Consent Decree called upon AT&T to remediate its
                                                                 17    hiring, training and retention policies of employees to prevent employees turning
                                                                 18    over customers’ personal information to unauthorized third parties. SAC ¶¶ 40-51.
                                                                 19    If it is shown at trial that AT&T’s officers and other managing agents knew that it
                                                                 20    continued to engage in defective hiring, training and retention policies and that such
                                                                 21    actions were undertaken with malice, fraud or oppression (as alleged in the SAC),
                                                                 22    Mr. Terpin may be entitled to punitive damages for these claims, as well as the
                                                                 23    claims alleging fraud. This, however, is a matter not for a motion to dismiss,
                                                                 24    because it involves factual issues.
                                                                 25                       5.   This is Not a Case of First Impression.
                                                                 26              The fact that this case involves SIM swapping (instead some other form of a
                                                                 27    security breach) is not a ground for dismissing the prayer for punitive damages at
                                                                 28    the pleading stage. Although the facts of this case (as with many other cases) may
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                                                                  1    involve some unique elements, the legal issues are not unique, i.e., AT&T’s
                                                                  2    liability for actions that it undertook that exposed Mr. Terpin’s personal
                                                                  3    information in violation of his rights.
                                                                  4              The rationale for the rule that punitive damages may not be appropriate in
                                                                  5    cases of first impression is that “the requisite intent or willfulness required to
                                                                  6    consciously disregard another’s rights cannot be present if no right or duty has been
                                                                  7    recognized.” In re First Alliance, 2003 WL 21430096, at *10 (C.D.Cal. June 16,
                                                                  8    2003). Because punitive damages must be based on conscious disregard of
                                                                  9    another’s rights, the Ninth Circuit in a “close case” found that they were not
                                                                 10    appropriate where there not a clear tenable claim of right. Morgan Guar. Trust Co.
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                                                                 11    v. American Sav. & Loan Ass’n, 804 F.2d 1487, 1500 (9th Cir. 1986).
                                                                 12              In contrast, the rights at issue in this case are well established and
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                                                                 13    recognized. Mr. Terpin as an AT&T customer had a statutory right for protection
                                                                 14    of his personal information and communications under the FCA and AT&T had the
                                                                 15    obligation to protect that information. SAC ¶¶ 28-32. Indeed, the FCA gives Mr.
                                                                 16    Terpin a private right of action to enforce those rights under the FCA and he is
                                                                 17    seeking to do so in this action. SAC ¶¶ 133-141. Mr. Terpin’s rights are further
                                                                 18    based on the CPNI Rules that require carriers like AT&T to implement measures to
                                                                 19    prevent disclosure of personal information to unauthorized individuals. SAC ¶¶ 32-
                                                                 20    34. Moreover, the FCC enforced consumers’ rights to the privacy of personal
                                                                 21    information against AT&T in the pretexting cases and through the resulting
                                                                 22    Consent Decree. In those cases, as here, AT&T inadequately protected its
                                                                 23    customers’ personal information from being turned over to criminals by its
                                                                 24    employees. SAC ¶¶ 35-51. AT&T itself acknowledges these rights in its Privacy
                                                                 25    Policy and Code of Business Conduct. SAC ¶ 52 et seq. For example, in its
                                                                 26    Privacy Policy, AT&T states that it takes its responsibility to safeguard customers’
                                                                 27    personal information “seriously” and that it will not share such information except
                                                                 28    for legitimate business purposes. Id. ¶ 54. It also promises that it has safeguards in
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                                                                  1    place to protect such information, including safeguards as to how its employees
                                                                  2    protect such information. Id. ¶ 55.
                                                                  3              Under these circumstances, there is nothing novel about the rights at issue in
                                                                  4    this case. Nor, unfortunately, is there anything novel about the fact that AT&T did
                                                                  5    not have safeguards in place to protect the security of Mr. Terpin’s information
                                                                  6    from the actions of its own employees, given that it was fined $25 million in 2015
                                                                  7    for similar actions. Under the rationale of In re First All Mortg., the rights and
                                                                  8    duties involved here are well-established and can readily serve as a basis for a
                                                                  9    punitive damages claim based on AT&T’s malicious flaunting of those rights in the
                                                                 10    case of Mr. Terpin.
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                                                                 11              Moreover, as the foregoing discussion shows, there are—at a minimum—
                                                                 12    disputed facts as to AT&T’s claim that this case is sufficiently “novel” so as to
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                                                                 13    avoid punitive damages that would make it improper to strike these allegations at
                                                                 14    the pleading stage and without allowing Mr. Terpin the benefit of discovery.
                                                                 15    III.      CONCLUSION
                                                                 16              For the foregoing reasons, the Court should deny Defendant’s Motion to
                                                                 17    Dismiss Third and Fourth Claims for Relief and Mr. Terpin’s claim for punitive
                                                                 18    damages. Alternatively, Mr. Terpin seeks leave to amend such claims.
                                                                 19
                                                                 20    DATED: April 13, 2020                     GREENBERG GLUSKER FIELDS
                                                                 21                                              CLAMAN & MACHTINGER LLP
                                                                 22
                                                                 23                                              By:/s/ Pierce O’Donnell
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                                                                 24                                                 Attorneys for Plaintiff MICHAEL
                                                                                                                    TERPIN
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                                                                      83764-00002/3761537.4                         23          OPPOSITION TO MOTION TO DISMISS
